Case 2:15-cv-00291-JAW Document 97 Filed 05/31/17 Pagelof2 PagelD #: 1039

UNITED STATES DISTRICT COURT
DISTRICT OF MAINE

21 MAY 31 BP : 22
ARTHUR J. LONG, )

)

Plaintiff, Dak UIY CLLR

v. ) 2:15-cv-00291-JAW
)
BRENT D. ABBOTT, )
)
Defendant. )
VERDICT FORM

1. Has Arthur Long proven by a preponderance of the evidence that Officer
Abbott lacked probable cause to arrest him for failing or refusing to
identify himself, in violation of his federal constitutional rights?

YES NO J
Proceed to Question #2.

2. Has Arthur Long proven by a preponderance of the evidence that Officer
Abbott searched him without probable cause to arrest him?

= no_v/
Proceed to Question #3.

3. Has Arthur Long proven by a preponderance of the evidence that Officer
Abbott used excessive force against him in connection with his arrest, in
violation of his federal constitutional rights? J

YES NO

If you answered “Yes” to either Question # 1, Question #2, or Question
#3, proceed to Question #4. Otherwise, answer no further questions,
and sign and date the form.
Case 2:15-cv-00291-JAW Document 97 Filed 05/31/17 Page 2 of 2. PagelD #: 1040

4, What amount is Plaintiff entitled to recover as compensatory damages?

$

 

Dated: 6/34 [201F Ss Ll Pre ti

Jury Foreperson

 
